      Case 3:23-cv-04155-YGR Document 10-48 Filed 08/17/23 Page 1 of 4




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13                             UNITED STATES DISTRICT COURT

14            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

15 CALIFORNIA COALITION FOR WOMEN                            Case No. 3:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16 A.S.; and L.T., individuals on behalf of themselves       [PROPOSED] ORDER GRANTING
   and all others similarly situated,                        PLAINTIFFS’ MOTION FOR
17                                                           PRELIMINARY INJUNCTION
                   Plaintiffs,
18         v.
                                                             Date:     October 6, 2023
19 UNITED     STATES OF AMERICA FEDERAL                      Time:     9:30 am.
   BUREAU OF PRISONS, a governmental entity;                 Crtrm.:   D, 15th Floor
20 BUREAU      OF PRISONS DIRECTOR COLETTE                   Place:    450 Golden Gate Avenue
   PETERS, in her official capacity; FCI DUBLIN                        San Francisco, CA 94102
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his individual            Judge:    Hon. Joseph Spero
22 capacity;  OFFICER GACAD, in his individual
   capacity; OFFICER JONES, in his individual
23 capacity;  LIEUTENANT JONES, in her individual
   capacity; OFFICER LEWIS, in his individual
24 capacity;  OFFICER NUNLEY, in his individual
   capacity, OFFICER POOL, in his individual capacity,
25 LIEUTENANT       PUTNAM, in his individual capacity;
   OFFICER SERRANO, in his individual capacity;
26 OFFICER SHIRLEY, in his individual capacity;
   OFFICER SMITH, in his individual capacity; and
27 OFFICER VASQUEZ, in her individual capacity,
                   Defendants.
28

                                                                       Case No. 3:23-cv-04155
           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Case 3:23-cv-04155-YGR Document 10-48 Filed 08/17/23 Page 2 of 4




 1          On October 6, 2023 at 9:30 a.m., this matter came on regularly for a hearing in this Court.

 2 Having considered the parties’ pleadings, the arguments of counsel, and the entire record in this

 3 case, and good cause existing therefor,

 4          THE COURT HEREBY FINDS AND ORDERS:

 5          1.      A preliminary injunction should issue where a plaintiff demonstrates “[1] that he is

 6 likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of

 7 preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in

 8 the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Plaintiffs

 9 meet each of these requirements.

10          2.      Plaintiffs have demonstrated that they have a likelihood of succeeding on the merits

11 of their claims that the BOP and FCI Dublin, through its officials, put individuals held at FCI at

12 substantial risk of serious harm due to sexual abuse and retaliation and have shown deliberate

13 indifference to that substantial risk of harm in violation of the Eighth Amendment.

14          3.      Plaintiffs have no adequate remedy at law and only injunctive relief will alleviate

15 the risks at which they are placed by Defendants’ acts and omissions.

16          4.      If the Motion for Preliminary Injunction is denied, Plaintiffs will suffer irreparable

17 harm from ongoing violations of their constitutional rights.

18          5.      Given Plaintiffs’ likelihood of success on the merits, the irreparable harm caused

19 by denying Plaintiffs’ Motion for Preliminary Injunction outweighs any harm experienced by

20 Defendants as a result of complying with the terms of this Order.

21          6.      The public has a strong interest in preventing ongoing sexual assault of people

22 incarcerated at FCI Dublin and this public interest weighs in favor of granting the Motion for

23 Preliminary Injunction.

24          7.      The relief ordered is narrowly drawn and extends no further than necessary to

25 remedy the current and ongoing violations of incarcerated peoples’ federal rights due to the acts

26 and omissions of Defendants. The relief ordered is the least intrusive means necessary to correct

27 these violations as it grants considerable leeway to Defendants to craft a remedy that complies

28 with the terms of this Order.

                                               2                        Case No. 3:23-cv-04155
            [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Case 3:23-cv-04155-YGR Document 10-48 Filed 08/17/23 Page 3 of 4




 1         WHEREFORE, IT IS HEREBY ORDERED THAT:

 2         1.      Plaintiff’s motion for a preliminary injunction is GRANTED.

 3         2.      IT IS FURTHER ORDERED that Defendants must take the following immediate

 4 actions, the Court will appoint a Special Master with sufficient resources and power to monitor

 5 and ensure Defendants’ compliance:

 6                 (i)     submit to a comprehensive audit, by an outside agency mutually agreed

 7                         upon by the Parties, of all policies concerning staff sexual abuse, reporting,

 8                         and retaliation;

 9                 (ii)    after such audit, implement changes to policies as recommended by the

10                         outside auditor and in consultation with organizational Plaintiff California

11                         Coalition of Women Prisoners (CCWP);

12                 (iii)   submit to quarterly site visits by the outside agency mutually agreed upon

13                         by the Parties, and provide public quarterly reports concerning: staff sexual

14                         abuse and retaliation, grievances against facility staff, and use of internal

15                         punitive measures (including use of solitary confinement, strip searches,

16                         cell searches, drug tests, and transfers);

17                 (iv)    end the use of solitary confinement or punitive segregation at FCI Dublin

18                         until such a time that it can be ensured that such confinement will not be

19                         used as part of a practice of retaliation against those who experience and

20                         report staff sexual abuse;

21                 (v)     develop a substantive process for the return of non-contraband items seized

22                         from individuals’ cells during searches;

23                 (vi)    develop and institute policies and procedures to provide high-quality offsite

24                         medical and mental health care for all members of the class, in accordance

25                         with accepted medical standards;

26                 (vii)   create a system to provide class members with documentation of reporting

27                         and participation in investigation of staff misconduct, and to streamline and

28                         support requests from class members for related relief (e.g. requests for

                                              3                        Case No. 3:23-cv-04155
           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
     Case 3:23-cv-04155-YGR Document 10-48 Filed 08/17/23 Page 4 of 4




 1                     release to less restrictive settings, requests for U-visa certifications); and

 2              (viii) ensure that all class members have consistent, timely, and confidential

 3                     access to legal counsel, including providing private meeting spaces for all

 4                     attorney visits.

 5       IT IS SO ORDERED.

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 7 DATED: ____________, 2023
                                               United States District Judge
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                                            4                        Case No. 3:23-cv-04155
         [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
